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COUNSEL FOR THE DEBTORS
AND DEBTORS-IN-POSSESSION

                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

In re:                                                      Chapter 11
                                                      §
SPHERATURE INVESTMENTS LLC, et                        §     Case No.: 20-42492
al.                                                   §
                                                      §
                  Debtors.1                           §     Jointly Administered
                                                      §

                                     AGREED MOTION TO
                                CONTINUE MAY 18, 2021 HEARING

         Spherature Investments LLC (“Spherature”), together with its affiliates identified herein,

as debtors and debtors-in-possession (collectively, the “Debtors”), hereby file this Agreed Motion

to Continue May 18, 2021 Hearing (the “Motion to Continue”). In support of the Motion to

Continue, the Debtors respectfully state as follows:

                                                       I.

                                         RELIEF REQUESTED

         1.        On December 21, 2020 (the “Petition Date”), the Debtors filed their respective

voluntary petitions for relief under chapter 11 of title 11 of the United States Code (the



1
  The “Debtors” in the above-captioned jointly administered chapter 11 bankruptcy cases (“Cases”) are: Spherature
Investments LLC EIN#5471; Rovia, LLC EIN#7705; WorldVentures Marketing Holdings, LLC EIN#3846;
WorldVentures Marketplace, LLC EIN#6264; WorldVentures Marketing, LLC EIN#3255; WorldVentures Services,
LLC EIN#2220.

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“Bankruptcy Code”), thereby initiating the above-captioned cases (the “Cases”).

         2.        On December 22, 2020, the Debtors filed their Emergency Motion for an Interim

and Final Orders Granting Use of Cash Collateral and Scheduling Final Hearing (the “Cash

Collateral Motion”) [Docket No. 18].

         3.        On January 21, 2021, the Debtors filed their Motion for Entry of an Order (I)

Authorizing and Approving: (A) Bid Procedures; (B) Stalking Horse Bidder and Bid Protections;

and (C) Form and Manner of Notices; (II) Scheduling and Auction and Sale Hearing; (III)

Approving the Sale of Substantially All the Assets of the Debtors, Free and Clear of All Liens,

Claims, Encumbrances and Interests; (IV) Authorizing the Assumption and Assignment of

Executory Contracts and Unexpired Leases; and (V) Granting Related Relief (the “Bid

Procedures Motion”) [Docket No. 92].

         4.        On April 29, 2021, the Honorable Brenda T. Rhoades, Chief Bankruptcy Judge for

the United States Bankruptcy Court for the Eastern District of Texas (the “Court”) set the Cash

Collateral Motion and Bid Procedures Motion for a hearing (the “Hearing”) on May 18, 2021, at

10:00 AM (CT) [Docket No. 265].

         5.        Counsel for the Debtors respectfully request that the Hearing scheduled for May

18, 2021, at 10:00 AM (CT) be continued and rescheduled to June 8, 2021, at 2:00 PM (CT), or

another date and time of the Court’s convenience. This Motion to Continue is not made for delay

purposes. But instead it is made to promote efficiency and so that justice might be served. Counsel

for the Debtors has conferred with counsel for the secured lenders, counsel for the Official

Committee of Unsecured Creditors (the “UCC”), counsel for Melody Yiru, counsel for Raymond

Braun, Janie Braun, Braun Marketing Company, Matt Morris, Rhonda Morris, Dr. Troy Brown,

Kathy Brown, Kari Schneider, Lisha Schneider, Byron Schrag, and Martin Ruof, and counsel for


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Seacret Direct, LLC. Seacret Direct, LLC’s counsel is unavailable on June 8, 2021. So the parties

may need a further continuance to a date as close to June 8, 2021 as possible.

                                                   II.

                                               NOTICE

         6.        No trustee, examiner, or committee has been appointed in these Cases. This Motion

to Continue has been provided to: (i) the Office of the United States Trustee; (ii) to each of the

Debtors’ secured lenders; (iii) counsel to the agents of the Debtors’ secured lenders; (iv) counsel

to the Official Committee of Unsecured Creditors; (v) the forty (40) largest unsecured creditors of

each the Debtors, as applicable; (vi) the Internal Revenue Service; and (vii) all parties in interest

who have formally appeared and requested notice. The Debtors respectfully submit that no further

notice of this Motion is required.

         7.        The pleadings in these Chapter 11 Cases and supporting papers are available on the

Bankruptcy Court’s website at https://ecf.txeb.uscourts.gov/ and on the Debtors’ claims agent’s

website at https://cases.stretto.com/Spherature. You can also request any pleading you need from

the Debtors’ counsel at: McDermott Will & Emery LLP, c/o Marcus Helt, Esq., 2501 North

Harwood Street, Suite 1900, Dallas, Texas 75201 (mhelt@mwe.com).

                                                  III.

                                            CONCLUSION

         WHEREFORE, the Debtors respectfully request the Court (1) reschedule and continue

the Hearing on the Cash Collateral Motion and Bid Procedures Motion to June 8, 2021, at 2:00

PM (CT), or another date and time of the Court’s convenience, and (2) grant such other relief to

which the Debtors may be entitled.




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                                                 Respectfully Submitted,

Dated:        May 14 , 2021                      /s/ Marcus A. Helt
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                                                 COUNSEL FOR THE DEBTORS AND
                                                 DEBTORS IN POSSESSION

                                     CERTIFICATE OF SERVICE

         I hereby certify that, on May 14, 2021, a true and correct copy of the foregoing document

was served electronically by the Court’s PACER system.

                                                 /s/ Marcus A. Helt
                                                 Marcus A. Helt




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